

People v Shapiro (2018 NY Slip Op 06140)





People v Shapiro


2018 NY Slip Op 06140


Decided on September 20, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 20, 2018

Friedman, J.P., Tom, Kapnick, Kahn, Kern, JJ.


6531 4992/15

[*1]The People of the State of New York,	 Respondent,
vNicole Shapiro, Defendant-Appellant.


Hantman &amp; Associates, New York (Robert J. Hantman of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Courtney M. Wen of counsel), for respondent.



Judgment of resentence, Supreme Court, New York County (Larry R.C. Stephen, J.), rendered August 3, 2016, revoking defendant's prior sentence of a conditional discharge, and resentencing her to a term of 6 months, unanimously reversed, on the law and the facts, and the matter5 remitted to Supreme Court for a new resentencing hearing.
The attorney who appeared on defendant's behalf at her resentencing told the court that he was not the attorney of record for defendant in this matter, and appeared as a courtesy to the court only because he had been called by the court clerk, although he had represented defendant in other proceedings. Under these circumstances, the court failed to recognize that defendant did not have proper legal representation at the hearing, and, accordingly, we reverse and remit for a new resentencing hearing.
In view of the foregoing, we do not reach defendant's remaining arguments.
The Decision and Order of this Court entered herein on May 10, 2018 (161 AD3d 506 [1st Dept 2018]) is hereby recalled and vacated (see M-2752 decided simultaneously herewith).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: SEPTEMBER 20, 2018
CLERK








